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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiff,                                   8:23–CR–158

        vs.                                              ADOPTION OF MAGISTRATE
                                                           JUDGE’S FINDINGS AND
AMARRO T. LOERA,                                       RECOMMENDATION ON PLEA OF
                                                                 GUILTY
                       Defendant.


       This matter is before the Court on the magistrate judge’s Findings and Recommendation,

Filing 44, recommending that the Court accept Defendant’s plea of guilty. There are no objections

to the Findings and Recommendation. Pursuant to 28 U.S.C. § 636(b)(1)(C) and NECrimR 11.2(d),

the Court has conducted a de novo review of the record and adopts the Findings and

Recommendation of the magistrate judge.

IT IS ORDERED:

   1. The magistrate judge’s Findings and Recommendation, Filing 44, is adopted;

   2. The defendant is found guilty. The plea is accepted. The Court finds that the plea of guilty
      is knowing, intelligent, and voluntary, and that a factual basis exists for the plea;

   3. The Court defers acceptance of any plea agreement until it has reviewed the presentence
      report, pursuant to NECrimR 11.2(d); and

   4. This case shall proceed to sentencing.

   Dated this 26th day of April, 2024.

                                                     BY THE COURT:


                                                     _________________________
                                                     Brian C. Buescher
                                                     United States District Judge
